 1   ELIZABETH A. STRANGE
     First Assistant United States Attorney
 2   District of Arizona
     FREDERICK A. BATTISTA
 3   Assistant U.S. Attorney
     Maryland State Bar Member
 4   Email: Fred.Battista@usdoj.gov
     FRANK T. GALATI
 5   Assistant U.S. Attorney
     Arizona State Bar No. 003404
 6   Email: Frank.Galati@usdoj.gov
     Two Renaissance Square
 7   40 North Central Avenue, Suite 1200
     Phoenix, Arizona 85004
 8   Telephone: 602-514-7500
     Attorneys for the United States
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10                         IN THE UNITED STATES DISTRICT COURT
11                               FOR THE DISTRICT OF ARIZONA
12
     United States of America,                              No. CR-17-00713-PHX-JJT (JZB)
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                            Plaintiff,                   RESPONSE TO JOINT MOTION TO
14                                                          DISMISS BASED ON FIRST
               v.                                           AMENDMENT GROUNDS
15                                                                 [Doc. 112]
     Gary Leonard Pierce, et al.,
16
17                          Defendants.

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19          Defendants have filed a Joint Motion to Dismiss Based on First Amendment
20   Grounds. (Doc. 112). Defendants argue that the Indictment must be dismissed because it
21   seeks to punish constitutionally protected political activities. (Defs.’ Mot. at 1, 6; Doc.
22   112.) More specifically, they claim “George Johnson utilized Defendants Jim Norton,
23   Kelly Norton and Sherry Pierce to lobby and gather information…” and nothing more.
24   Motion at 6. As framed by the defendants themselves, both their factual allegations and
25   constitutional claims fail for two simple reasons: (1) defendants’ make their constitutional
26   claim by ignoring the actual allegations of the Indictment; and (2) defendants’ claim of
27   innocent political activity is but a factual defense; that is, a jury question.
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 1         The Indictment charges defendants with violations of 18 U.S.C. § 371 (Conspiracy);
 2   § 666(a)(1)(B) (Federal Programs Bribery); §§ 1341 and 1346 (Honest Services Mail
 3   Fraud); and §§ 1343 and 1346 (Honest Services Wire Fraud). A simple reading of the
 4   Indictment belies defendants’ First Amendment claims. Rather than interfering with the
 5   protected constitutional liberties of American citizens, the Indictment alleges that the
 6   defendants conspired to and engaged in a bribery scheme whereby defendant Johnson paid
 7   $31,500 to Pierce defendants in exchange for then-Corporation Commissioner Gary Pierce
 8   taking official actions on behalf of defendant Johnson. In addition, the defendants took
 9   multiple additional overt acts in furtherance of the conspiracy by attempting to purchase
10   real property for Gary Pierce with funds provided by defendant Johnson. Plainly, the
11   Indictment alleges a corrupt quid pro quo bribery of a public official and a related
12   conspiracy to accomplish said bribery. The First Amendment does not protect the charged
13   conduct and the United States is prepared to prove the improper quid pro quo relationship
14   at trial. Accordingly, defendants’ motion should be denied.
15   I.    Overview of Facts Alleged in the Indictment
16           Beginning on or about August 2011, defendant George Johnson conspired with
17    defendants Gary Pierce, Sherry Pierce, and James Norton to pursue a course of action that
18    would benefit Johnson and his company Johnson Utilities, LLC. (Ind. at 4-5.) The object
19    of the defendants' conspiracy was for Johnson—through Norton—to unlawfully
20    provide benefits to the Pierces, in the form of money and the purchase of real property
21    for Gary Pierce valued at $350,000, in exchange for then-Arizona Corporation
22    Commissioner Gary Pierce taking official actions benefiting Johnson and his company.
23    (Id. at 5-6.) Pursuant to this conspiracy, Johnson paid at least $31,500 to the Pierces. (Id.)
24    This corrupt agreement deprived the ACC, the customers of Johnson Utilities, LLC, and
25    the citizens of the State of Arizona of their right to the honest services of elected members
26    of the ACC. (Id. at 5.)
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 1          As described in greater detail below, the conduct set forth above—and alleged in
 2   the Indictment—is a quid pro quo bribe / honest services mail and wire fraud scheme that
 3   satisfies any reasonable definition of corruption.
 4   II.   Argument
 5         a.     The Indictment adequately charges the necessary elements of the offenses at
 6   issue and is sufficient on its face.
 7          To meet the guarantees of the Fifth and Sixth Amendments to the Constitution, an
 8   indictment is sufficient if it (i) contains the elements of the offense charged and fairly
 9   informs a defendant of the charge; and (ii) enables a defendant to plead double jeopardy
10   as a bar to future prosecutions for the same offense. See Hamling v. United States, 418
11   U.S. 87, 117 (1974). An indictment that tracks the statutory language is normally
12   sufficient if it contains all the elements and is accompanied by a statement of facts that
13   adequately apprises the defendant of the charges against him. See id. Here, the Indictment
14   easily meets these standards. Counts 1–8 all set forth the elements of the offenses charged,
15   track the statutory language, and inform the defendants with specificity of the charges
16   against them. (Ind. at 1-17.) Each count of the Indictment is supported by specific facts,
17   including:
18         The object of the defendants' conspiracy was for defendant GEORGE
           HARRY JOHNSON to unlawfully pay money and property to defendants
19         GARY LEONARD PIERCE and SHERRY ANN PIERCE, through
           JAMES FRANKLIN NORTON and the unindicted coconspirator, in
20         exchange for defendant GARY LEONARD PIERCE, as a Commissioner
           for the ACC, to unlawfully execute official actions benefiting defendant
21         GEORGE HARRY JOHNSON and Johnson Utilities, LLC, with
           respect to matters pending before the ACC . . . . During the period of the
22         conspiracy, defendants GARY LEONARD PIERCE and SHERRY ANN
           PIERCE fraudulently and unlawfully received $31,500.00 from defendant
23         GEORGE HARRY JOHNSON, through defendant JAMES FRANKLIN
           NORTON, in exchange for defendant GARY LEONARD PIERCE's
24         favorable and unlawful official actions on matters before the ACC,
           including Decision Number 72579, in ACC, Docket Number WS-02987A-
25         08-0180, which added back into a rate base a wastewater division plant of
           $18,244,755 which was previously disallowed, and the docketing of a
26         proposed policy change in ACC, Docket Number W-OOOOOC-06-0149,
           which lead to the ACC permitting utilities organized as subchapter S
27         corporations and limited liability companies (a.k.a. LLCs and pass-through
           entities) to charge their ratepayers for the utility owner's personal income
28         taxes. . . .

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 1   (Ind. at 5-6, ¶¶15-16.) In further support of these allegations, the Indictment includes
 2   specific facts, including details regarding a number of financial transactions made between
 3   the defendants (with specific check numbers) (Ind. at 6, 8-13, ¶¶ 18, 26, 29-32, 34, 37-47,
 4   49, 54); summaries of a number of official acts committed by Gary Pierce in his capacity
 5   as an ACC commissioner that benefitted Johnson Utilities, LLC (including his relevant
 6   ACC voting decisions and the dates on which those votes occurred) (Ind. at 7-8, 13, ¶¶ 20-
 7   24, 55); details of emails exchanged between certain defendant’s, including emails
 8   regarding a potential land deal, with an accompanying “Letter of Intent to Purchase” (Ind.
 9   at 9, 12-13, ¶¶ 33, 35-36, 50, 53); and details regarding physical mail sent via the postal
10   service to facilitate the conspiracy (Ind. at 15-17, ¶¶ 60-63.)
11          While the above summary is by no means exhaustive, it clearly demonstrates that
12   the Indictment is constitutionally adequate, and should not be dismissed.
13      b. The Indictment does not target protected speech
14          While conceding that “the First Amendment allows prosecutions for lobbying
15   activity and political speech where there is a showing of quid quo pro linkage”1, defendants
16   argue that they did nothing more than engage in constitutionally protected political activity.
17   They do so by ignoring the actual allegations of the Indictment and by offering their own
18   bare, unsupported alternative “facts.” Defendants then rely upon those purported facts and
19   argue that their motion is properly governed by political speech cases rather than corruption
20   law. The Indictment, however, alleges corruption and not protected political speech. For
21   example, not one penny of the $31,500 in monetary payments, nor the potential acquisition
22   of the $350,000 piece of property, is alleged to be a direct campaign contribution or a
23   permissible independent expenditure. Rather, it clearly alleges they were bribes. (Ind. at 4-
24   6.) Accordingly, whatever allure Citizens United v. Federal Election Commission, 558 U.S.
25   310 (2010), and related cases may have to the defendants, they are simply irrelevant to the
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                Defendants’ motion at 6.

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 1   defendants’ motion.  What the Supreme Court actually held in Citizens United was that
 2   “[a]n outright ban on corporate political speech during the critical pre-election period is
 3   not a permissible remedy” to address Government anticorruption concerns about corporate
 4   spending on independent electioneering communications. 558 U.S. at 361. This decision,
 5   therefore, has no significance here.
 6          This case is not about corporate political speech. It is about bribery. The Indictment
 7   does not target legitimate lobbying efforts, campaign donations, or any other type of
 8   legitimate political expression. In fact, the First Amendment is all but irrelevant to this
 9   case. The portion of Citizens United that actually pertains to this case states “‘[t]he
10   hallmark of corruption is the financial quid pro quo: dollars for political favors.’” 558 U.S.
11   at 359 (quoting Fed. Election Comm’n v. Nat’l Conservative Political Action Comm., 470
12   U.S. 480, 497 (1985)). The Indictment clearly alleges, and at trial the United States will
13   endeavor to prove, a “hallmark of corruption.” Specifically, it will prove that pursuant to
14   this conspiratorial relationship, Gary Pierce took official acts in his capacity as an ACC
15   Commissioner, including as Chair, to significantly benefit Johnson and his water utility
16   which Gary Pierce had been entrusted by the citizens of Arizona to honestly regulate. In
17   return, Johnson—through Norton—surreptitiously paid the Pierces at least $31,500. It is
18   for a jury to decide whether the evidence presented proves that hallmark of corruption
19   beyond a reasonable doubt.
20      III.   Conclusion
21      For the reasons set forth above, the defendants’ motion to dismiss should be denied.
22      Respectfully submitted this 5th day of April, 2018.
23                                                  ELIZABETH A. STRANGE
                                                    First Assistant United States Attorney
24                                                  District of Arizona
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26                                                  s/Frank T. Galati
27                                                  FREDERICK A. BATTISTA
                                                    FRANK T. GALATI
28                                                  Assistant United States Attorneys


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 1                              CERTIFICATE OF SERVICE
 2         I hereby certify that on April 5, 2018, I electronically transmitted the attached
     document to the Clerk’s Office using the CM/ECF system for filing and transmittal of a
 3   Notice of Electronic Filing to the following CM/ECF registrants:
 4
     Patricia Ann Gitre, Esq.
 5   Attorney for defendant Gary Leonard Pierce
 6   Hannah Hatch Porter, Esq.
 7   Jay Steven Volquardsen, Esq.
     Woodrow Charles Thompson, Esq.
 8   Attorneys for defendant George Harry Johnson
 9   Ivan Kurian Mathew, Esq.
     Attorney for defendant James Franklin Norton
10
     Ashley D. Adams, Esq.
11   Attorney for defendant Sherry Ann Pierce
12
13   s/Gaynell Smith
     U.S. Attorney’s Office
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